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16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether portions of Plaintiffs’ Notice of Motion and Motion to Exclude Certain Expert

 5   Testimony of Gregory A. Pinsonneault (“Motion to Exclude”) and the exhibits to the Declaration of

 6   Micah G. Block in Support of the Motion to Exclude (collectively, the “Confidential Materials”)

 7   should be sealed.

 8          Portions of the Motion to Exclude and exhibits to the Block Declaration thereto, contain, refer

 9   to, or derive from, materials that have been designated by Defendants and/or non-parties Jefferies

10   Group LLC and Francisco Partners as “Confidential” or “Highly Confidential – Attorney’s Eyes

11   Only” pursuant to the August 31, 2020 Stipulated Protective Order (Dkt. No. 132) in the Action.

12   Plaintiffs, therefore, must, under the terms of the Stipulated Protective Order, file the exhibits under

13   seal and redact the portions of the Motion to Exclude that quote the exhibits.

14          Accordingly, Plaintiffs now move the Court to consider whether the Confidential Materials

15   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any

16   confidentiality designations as well as the sealability of the materials at issue.

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 1    Dated: January 9, 2025                     Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP

 3
                                                 By: /s/ Micah G. Block
 4                                                   Micah G. Block
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